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PS

| UNITED STATES DISTRICT COURT
for the
District of New Jersey
U.S.A. vs. Yezenia Castillo Docket No. 20-8102

Petition for Action on Conditions of Pretrial Release

COMES NOW KATHLEEN CULLEN PRETRIAL SERVICES OFFICER, presenting
an official report upon the conduct of defendant Yezenia Castillo, who was placed under pretrial
release supervision by the HONORABLE JOSEPH A. DICKSON sitting in the Court at 50
Walnut Street, on March 3, 2020, under the following conditions:

$100,000 Unsecured Appearance Bond

Pretrial Services Supervision

Defendant released to the third-party custody of Carlos Castillo

Travel restricted to New Jersey and New York City, unless approved by Pretrial Services.

Surrender all passports and travel documents to Pretrial Services. Do not apply for any

new travel documents.

Mental health testing and treatment as directed by Pretrial Services.

Abstain from the excessive use of Alcohol.

Maintain current residence or residence approved by Pretrial Services.

Maintain or actively seek employment as approve by Pretrial Services.

No contact with victims or witness unless in the presence of counsel.

0. No new bank accounts unless approved by Pretrial Services.

1, Restricted from employment where Defendant has access to 3" party bank or financial
accounts.

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Respectfully presenting petition for action of Court and for cause as follows:

[SEE ATTACHED ADDENDUM]

PRAYING THAT THE COURT WILL ORDER: Schedule a bail violation hearing.
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ORDER OF COURT I declare under penalty of perjury that the
N, foregoing is true and correct.

Considered and ordered this _/ o day

of , >ezz and ordered filed Executed

and made a part of the records in the above on 3/11/2022

case.

AVALA______ K ethan Callen
MICHAEL HAMMER KATHLEEN CULLEN
U.S. Magistrate Judge U.S. Pretrial Services Officer

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Bail Violation Hearing set for 3/15/2022 at 3:30 p.m. via Zoom.
